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lN THE UNITED STATES DlSTRlCT COURT x 4/? 00

FOR THE WESTERN DlsTRlCT oF TENNESSEE t f
EASTERN DivlsloN “‘%O,;;?: l

  

HALEY NICOLE RHODES, a minor,
and BRANDON MATTHEW RHODES,
a minor, by and through their parents,
WANDA I\/IARIE RHODES and
BUSTER LEE RHODES; WANDA
MARIE RHODES and BUSTER LEE
RHODES, lndividually,

Plaintiffs, No. l :05-1020-T-An

VS.
SUSAN WALLACE, Individually;

HENDERSON COUNTY BOARD oF
EDUCATION,

\_/\~_/\_/\_/\_,/\_/\_/\_/\_/\_/\-/\_'/\-,/\_,/\.,/\_/\_/

Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT SUSAN
WALLACE’S MOTION TO DISMISS

 

Plaintiffs, Haley Nicole Rhodes, Brandon Matthew Rhodes, and the siblings’ parents,
brought this action initially in the Circuit Court for Henderson County, Tennessee, against
Defendants Susan Wallace and the Henderson County Board of Education. Plaintiffs
alleged negligenoe, assault, battery, negligent infliction of emotional distress, intentional
infliction of emotional distress, and violations of Haley’s eivil rights under 42 U.S.C. §
1983. On Januai'y 26, 2005, the Henderson County Board of Education (“the Board”)

removed the ease to this court pursuant to 28 U.S.C. § l44l. Susan Wallace now moves to

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dismiss Plaintif`fs’ § 1983 claims that are based upon the Fourth and Eighth Amendments.
For the following reasons, Susan Wallace’s motion to dismiss Plaintif`f`s’ Eighth Amendment
claim is GRANTED and her motion to dismiss Plaintiff`s’ Fourth Amendment claim is

DENIED.

l.

Haley Nicole Rhodes and her brother Brandon Matthew Rhodes, along With their
parents, Wanda l\/Iarie Rhodes and Buster Lee Rhodes (collectively “Plaintiffs”), are
residents ofHenderson County, Tenncssee. At the time of the events leading to this lawsuit,
Haley Was either four (4) or five (5) years of age and Brandon Was either ten (10) or eleven
(l l) years old. (&e§ Pls.’ Compl. at 1]{[ l, 2, 9, 15). During the late summer of 2003, Haley
began attending preschool at Beaver Elementary School in Henderson County. (E Pls.’
Compl. at M 8, 9). Because she suffered from asthma and Was particularly small for her age,
Haley Was a “special needs” student and the school placed her in a special education
classroom. (E_e Pls.’ Compl. at1[1l lO, 12, 13). Def`endant Susan Wallace (“Wallace”) Was
the teacher assigned to this special education classroom. (w Pls.’ Compl. at 1[ 15).

According to Plaintiffs, as soon as Haley began attending Wallace’s class, Wallace
engaged in various forms of` abuse toward Haley and the other students. (S_ee Pls.’ Compl.
at 15). Specifically, Plaintiff`s allege that Wallace took advantage Of` her disciplinary

authority over Haley by, among other things, screaming at Haley uncontrollably and daily,

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hitting Haley with flyswatters, yardsticks, and hands, removing hair from Haley’s head,
abusing other students in Haley’s presence, and committing other “inappropriate and
dangerous acts and disciplinary measures.” (M Pls.’ Compl. atjl 17). Plaintiffs have also
suggested that Wallace may have required Haley and/or and other students to “drink water
from a toilet.” (w Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 2). Brandon, Haley’s
brother, allegedly witnessed much of Wallace’s conduct toward his sister. (§§e Pls.’ Compl.
at M 18, 19). These alleged misdeeds took place on an uninterrupted basis until early to
mid-2004, when the Board removed Wallace from her position. (w Pls.’ Compl. at il 15).

Haley and Brandon filed suit in state court through their parents, Who also brought
an action in their individual capacities (_S__e§ Compl.). Plaintiffs named Wallace and the
Board as Def`endants. Plaintiffs asserted claims under state tort law and under 42 U.S.C. §
1983. The Board then removed Plaintiffs’ claims to this court.

Bef`ore the court is a motion, by Wallace, to dismiss two of Plaintiffs’ § 1983 claims.
Wallace first moves to dismiss Plaintiffs’ claim that her alleged actions constitute “cruel and
unusual punishment” under the Eighth Amendment. Wallace argues that the Eighth
Amendment is simply an improper constitutional framework within which to consider the
abusive conduct of a public school teacher toward her students. Second, Wallace seeks
dismissal of Plaintif`f`s’ claim that Wallace unreasonably “seized” Haley in violation of the
protections of the Fourth Amendment. ln particular, Wallace contends that, because the

“principal concern” of the Fourth Amendment is “intrusions on privacy in the course of`

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criminal investigations,” (M Wallace’s l\/lem. Supp. Mot. to Dismiss at 2), the Fourth
Amendment does not operate to protect public school students from excessive force inflicted
upon them by public school teachers who abuse their disciplinary authority. Plaintiffs’ have
responded to both of these arguments (§§_e Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at

3W6).

ll.

Wallace’s motion to dismiss is governed by Rule 12 of the F ederal Rules of Civil
Procedure. Rule 12 provides for dismissal of an action when the complaint “fails to state
a claim upon which relief can be granted.” FED. R. Clv. P. l2(b)(6). When deciding a
l2(b)(6) motion to dismiss, the court “must construe the complaint in the light most
favorable to the plaintiff, accept all factual allegations as true, and determine whether the
plaintiff undoubtedly can prove no set of facts in support of [the] claims that would entitle
[the plaintiff] to relief.” Cline v. Rogers, 87 F.3d 176, 179 (6th Cir. 1996).

A person who sues under § 19831 must establish two elements to prevail First, the

 

'§ 1983 provides, in relevant part, that,

[e]very person who, under color of any statute, ordinance,
regulation, custom, or usage, of any State or Territory or the
District of Columbia, subj ects, or causes to be subjected, any
citizen of the United States or other person within the jurisdiction
thereof to the deprivation of any ri ghts, privileges, or immunities
secured by the Constitution and laws, shall be liable to the party
injured.

42 U.S.C. § 1983.

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plaintiff must show that he was deprived of a right secured by the United States Constitution
or the laws of the United States. Second, he must demonstrate that he was subjected or
caused to be subjected to the constitutional deprivation by a person acting under color of
state law. Davenport v. Simmons, 192 F. Supp.2d 812, 817-18 (W.D. Tenn. 2001) (citing
Searcv v. Citv of Davton, 38 F.3d 282, 286 (6th Cir. 1994) (citing Flagg Bros. v. Brool<s,
436 U.S. 149, 155 (1978))). Here, the issue is whether the allegations ofthe complaint,
taken as true and viewed in Plaintiffs’ favor, would constitute a violation of “a right [or

ri ghts] secured by the United States Constitution” and remediable under § 1983.

Ill.
A. The Eighth Amendment
The Eighth Amendment to the United States Constitution provides that, “[e]xcessive
bail shall not be required, nor excessive fines imposed, nor cruel and unusual punishments
inj?icted.” U.S. CONST. amend. VIII2 (emphasis added). The Supreme Court has concluded
that only a certain subcategory of “cruel and unusual” government behavior, or
“punishment,” violates the Eighth Amendment as opposed to some other constitutional

provision or to none at all. See, e.g_, lngraham v. Wrigh_t, 430 U.S. 651 (1977).

 

zThe amendment is applicable to the states and to state actors by virtue of the Due Process
Clause of the Fourteenth Amendment. E U.S. CONST. amend. XIV, § 1 (“No State shall . . .
deprive any person of life, liberty, or property, without due process of law.”); Robinson v.
California, 370 U.S. 660, 666 (1962)', Louisiana ex. rel. Francis v. Resweber, 359 U.S. 459, 463
(1947).

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Specifically, the Court has held that government conduct is not to be scrutinized under the
amendment unless and until the government has secured a formal adjudication of the
“punished”person’s guilt in a criminal prosecution _S_§§i_d. at 671 n.40 (citin g _U_n_i*t€:clSmm__tate§
v. Lovett, 328 U.S. 303, 317-18 (1946). The Court’s reasoning was grounded in the text
and history of the amendment as well as in prior precedent Li_. at 664-68 (noting that the
“primary purpose of [the Cruel and Unusual Punishments Clause] has always been
considered, and properly so, to be directed at the method or kind of punishment imposed for
violation of criminal statutes”) (quoting Powell v. Texas, 392 U.S. 514, 531#~32 (1968)).

Despite the obvious meaning of In graham as applied to the facts of this case,
Plaintiffs nonetheless argue that this court should either factually distinguish this case or
“change . . . the law.” Plaintiffs first argue that what Wallace allegedly did to Haley was
subjectively more “cruel and unusual” than what happened to the petitioners in lngraham.
(E Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 3-4). Those petitioners, however,
claimed state conduct that was far more egregious than Plaintiffs acknowledge One
petitioner claimed that two assistant principals had grabbed him and hit him twenty (20)
times with a paddle, and the other petitioner claimed that he had been paddled on his arm,
back, neck, and wrist. See lngraham v .Wright, 525 F.2d 909,911 (5“‘ Cir. 1976), _a__f_`f"_d, 430
U.S. 651 (1977). Thus, contrary to Plaintiffs’ attempt to draw a distinction between “mere”
corporal punishment and “cruel and unusual” corporal punishment, lngraham did not base

its decision on any such distinction but instead simply held the Eighth Amendment

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inapplicable to punishment, of whatever severity, inflicted by public school officials
exercising disciplinary authority in the public school system, lngraham v. Wright, 430 U.S.
651, 671 (1977).

Plaintiffs also point out that lngraham was decided almost three (3) decades ago and
that only five (5) Justices signed the majority opinion limiting the Eighth Amendment to the
post-conviction treatment of criminal offenders (w Pls.’ Mem. Opp. Wallace’s Mot. to
Dismiss at 4). Apparently, Plaintiffs consider the length of time that has transpired since
lngraham was decided as a factor that would justify changing instead of adhering to
precedent Even if the court agrees, neither time nor a persuasive dissent would permit this
court to disregard an unambiguous and applicable decision of the Supreme Court.

Last, Plaintiffs contend that, because of “the evolution of our society,” the Supreme
Court would likely hold that the abuse alleged in this case was cruel and unusual and
violated the Eighth Amendment. (E Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 4).
In other words, Plaintiffs insist that society in 1977 may have accepted screaming at
students, striking them with flyswatters and yardsticks and bare hands, removing hair from
their heads, abusing others in their presence, and forcing them to drink from commodes, but
that society in 2005 would necessarily condemn such conduct by a public school teacher.
This argument is not persuasive because it confuses the question of whether the Eighth
Amendment is even a relevant limit on particular government conduct with the question of

whether conduct admittedly governed by the Eighth Amendment (such as the execution of

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a prisoner) has become “cruel and unusual” under society s evolving standards ofdecency.”
w lngraham, 430 U.S. at 668 n.36 (noting that the concept of cruel and unusual criminal
punishment may “become[] enlightened by a humanejustice”); see also Ror.)er v. Simmons,
125 S.Ct. 1183, l 190 (2005) (discussing “evolving standards of decency” in the death
penalty context). This case is concerned only with the first question, and the answer to that
question is controlled by lngraham and not amenable to any evolving standards other than
those enunciated by the Supreme Court itself.

lndeed, the factual allegations of Plaintiffs’ complaint do accuse Wallace of serious,
severe, “cruel and unusual” conduct. (w Pls. Compl. and Mem. Opp. Wallace’s l\/lot. to
Dismiss). Viewing those accusations in Plaintiffs’ favor, the conduct was also arguably
imposed as some form of “punishment” against Haley. Notwithstanding and assuming all
ofthis, such punishment by this defendant simply does not implicate the Eighth Amendment.
The “plaintiff undoubtedly can prove no set of facts in support of [the] [Eighth Amendment]
claims that would entitle [the plaintifH to relief.” w Cline v. Rogers, 87 F.3d 176, 179 (6th
Cir. 1996) (second brackets added).

Accordingly, Wallace’s Rule 12(b)(6) Motion to Dismiss Plaintiffs’ Eighth

Amendment claim is GRANTED.

B. The Fourth Amendment

Whether Plaintiffs have stated a claim under the Fourth Amendment presents a more

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difficult question. That amendment grants “the people” a constitutional right “to be secure
in their persons . . . against unreasonable searches and seizures.” U.S. CONST. amend. IV.
lt has been incorporated into the Due Process Clause of the Fourteenth Amendment and thus
applies with equal force to both federal and state actors. See. eg, Mar)n v. Ohio, 367 U.S.
643 (1961).

Under the Fourth Amendment, a seizure occurs when a government agent restrains
a person’s freedom of movement in such a way that a reasonable person in the same position
would not feel free to walk away. See. egg Elwoski v. Citv of Brunswick, 287 F.3d 492,
506 (6th Cir. 2002) (citing Michigan v. Chesternut, 486 U.S. 567, 573 (1988)). The
government agent must intentionally acquire physical control over the person seized. wl
gg_., § (citing Brower v. Countv oflnvo, 489 U.S. 593, 596 (1989)). Additionally, unless
and until the person is successfully restrained by physical force or a show of authority, a
Fourth Amendrnent seizure has not transpired _l_d. (citing Califomia v. Hodari D., 499 U.S.
621 (1991)).

Wallace argues that the constitutional proscription of unreasonable seizures by
government agents is not controlling in cases where teachers are alleged to have used
excessive force as a means of maintaining control over a classroom. (M Wallace’s Mem.
Supp. `Mot. to Dismiss at 2). lngraham, s_u@, did not resolve that questionl E lngraham
v. Wright, 430 U.S. 651, 674 n.42 (1977). As pointed out by Wallace, the Court has in fact

noted that one of the Framers’ “principal concerns” in drafting the Fourth Amendment was

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“the pre-Revolutionary practice of using general warrants or ‘writs of assistance’ to
authorize searches for contraband by officers of the Crown.” New J'ersey v. T.L.O., 469
U.S. 325, 335 (1985); sw lngraham, 430 U.S. at 674 n.42 (acknowledging that the
Fourth Amendment is especially concerned with government invasions of legitimate
expectations of privacy during the course of criminal investigations); Tennessee v. Gamer,
471 U.S. 1J 7 (1985) (applying Fourth Amendment “seizure” analysis to the use of deadly
force as a means of apprehending a criminal suspect).

The Fourth Amendment’s protection of legitimate expectations of privacy, bodily
movement, and security is not as limited as Wallace suggests As noted bythe Court in w
Jersey v. T.L.O., although the historical roots of the Fourth Amendment are found in the law
enforcement context, the “‘basic purpose of this Arnendment, as recognized in countless
decisions of [the Supreme] Court, is to safeguard the privacy and security of individuals
against arbitrary invasions by government officials.”’ New Jersey v. T.L.O., 469 U.S. 325,
335 (1985) (citing Camara v. Municinal Court, 3 87 U.S. 523, 528 (1967)). Those interests
suffer as a result of intrusions by a government actor regardless of whether the government
actor’s motive is to enforce the criminal law as opposed to some other standard §§ Q.
(citing Marshall v. Barlow’s. lnc., 436 U.S. 307, 312-13 (1978)). For these reasons, the
C ourt in L.O. easily held that the Fourth Amendment protects public school children from
unreasonable searches carried out by school officials id at 334-37 (noting that school

officials carry out searches and perform oth er disciplinary functions as representatives of the

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state and pursuant to state mandated disciplinary standards). This holding has been extended
beyond the search context to apply to forceful disciplinary “seizures” effected by school
teachers as well. See. e.g., Wallace v. Batavia School Dist., 68 F.3d 1010 (7th Cir. 1995).

Perhaps recognizing that the “original intent” argument was rejected in L.O.,
Wallace relies on a decision of the Sixth Circuit in Which the court of appeals held that the
student plaintiffs’ claims of sexual and physical abuse against a teacher and soccer coach
were governed by the “shocl<s the conscience” test of the “substantive due process”
component of the Fourteenth Amendment. (&e Wallace’s Mem. Supp. Mot. to Dismiss at
2 n.l) (citing Lillard v. Shelbv Countv Bd. ofEduc., 76 F.3d 716, 724-26 (6th Cir. 1996)).
ln that case, the court of appeals explained that a plaintiff may allege two different types of
substantive violations by state actors under the Due Process Clause of the Fourteenth

Amendment,

The first type includes claims asserting denial of a right, privilege, or immunity
secured by the Constitution or by federal statute other than procedural claims under
‘the Fourteenth Amendment simplicirer.’

The other type of claim is directed at official acts which may not occur regardless of
the procedural safeguards accompanying them. The test for substantive due process
claims of this type is whether the conduct complained of ‘shocks the eonscience’ of
the court.

Lillard v. Shelbv Countv Bd. of Educ.. 76 F.3d 716, 724-26 (6“‘ Cir. 1996) (intemal

citations omitted). In other words, if a plaintiff is alleging that particular government action

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violated a substantive right nor covered by a particular constitutional provision or federal
statute, then his claim should be characterized as a “substantive due process” claim. lf, on
the other hand, a plaintiff alleges that a state actor has deprived him of “due process” by
violating an independent constitutional provision, such as the Fourth Amendment, the
standards applicable to that provision govern instead of the more vague standards that have
been articulated under the general notion of “substantive due process.”

I:jlla_r_d did not even address a claim that a public school teacher violated the Fourth
Amendment by using excessive disciplinary force to acquire control over students The
issue in that case was what “test” applies (“shocks the conscience” or some other level of
scrutiny) when an excessive force plaintiff is relying on the second type of substantive due
process claim noted above. M certainly does not stand for the proposition that students
must bring all excessive force claims against school officials under the same theory as the
M plaintiffs even if a more explicit constitutional provision applies lndeed, as noted
by Wallace in her Motion to Dismiss, the Supreme Court has been skeptical of the “shocks
the conscience” test and has instructed that when there is an “explicit textual source of
constitutional protection against . . . physically intrusive governmental conduct,” then Fourth
Amendment analysis should apply instead of “the more generalized notion of substantive
due process.” Graham v. Conner, 490 U.S. 386, 395 (1989) (internal citations and quotation

marks omitted). In short, Plaintiffs’ Fourth Amendment claim is not foreclosed by Lillard.

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Here, Plaintiffs have alleged facts that, if believed, would justify a finding that
Wallace used her official authority to intentionally acquire physical and disciplinary control
over Haley in a manner that was objectively unreasonable under the totality of circumstances
and that would lead a reasonable person in Haley’s position to believe that she was not free
to leave. ln particular, Plaintiffs claim that Wallace “showed her authority” by “[d]aily
uncontrolled screaming,” by “forcefully striking Haley’s person [] with in appropriate objects
. . . such as flyswatters and yardsticks,” by hitting Haley, by pulling out Haley’s hair, by
abusing other students in Haley’s presence, and by engaging in other inappropriate
“disciplinary measures” IfWallace restrained Haley’s movement in the method alleged, she
did so as a representative of the state seeking to “enforce” the “law” of the classroom. Like
the school searches for cigarettes in I_L_Q were subject to Fourth Amendment analysis, this
court concludes that the Fourth Amendment could also apply to a school teacher’s use of
force or other displays of disciplinary authority to “seize” her students

Because Plaintiffs have alleged “a set of facts” that could support finding an unlawful
seizure of Haley’ s person in violation of the Fourth Amendment, Wallace ’ s 12(b)(6) Motion

to Dismiss that portion of Plaintiffs’ complaint is DENIED.

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IV.
For the foregoing reasons, Wallace’s Motion to Dismiss Plaintiffs’ Eighth
Amendment claim is GRANTED and her Motion to Dismiss Plaintiffs’ Fourth Amendment
claim is DENlED.

IT IS SO ORDERED.

 

 

 

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UNITEDSTATS DRisriC CoURr - WESTRNE Di"iCrRr oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case l:05-CV-01020 was distributed by fax, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
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